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                                                                            5   Attorneys for Defendants
                                                                                CITY OF SUNNYVALE and OFFICER JOHN
                                                                            6   BOGNANNO

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                                                                            8                                 UNITED STATES DISTRICT COURT

                                                                            9                              NORTHERN DISTRICT OF CALIFORNIA
ALLEN, GLAESSNER, HAZELWOOD & WERTH, LLP




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                                                                           11    JOHN DOE,                                     Superior Court of Santa Clara Case No.
                                                                                                                               22CV405055
                                                                           12                           Plaintiff,
                                                                                                                               NOTICE OF REMOVAL OF ACTION
                                                                           13           v.                                     UNDER 28 U.S.C. § 1441 (FEDERAL
                                                                                                                               QUESTION); DEMAND FOR JURY TRIAL
                                                                           14    DEPARTMENT OF JUSTICE OF THE
                                                                                 STATE OF CALIFORNIA, et al.,
                                                                           15
                                                                                                        Defendants.
                                                                           16

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                                                                           18   TO THE CLERK OF THE COURT AND ALL COUNSEL OF RECORD:
                                                                           19          PLEASE TAKE NOTICE that defendants CITY OF SUNNYVALE and OFFICER JOHN
                                                                           20   BOGNANNO (“Defendants”) hereby remove to this Court the state court action described below.
                                                                           21                                         THE REMOVED ACTION
                                                                           22          1.      On September 30, 2022, an action was commenced in the Superior Court for the
                                                                           23   County of Santa Clara, entitled John Doe vs. Department of Justice of the State of California, et
                                                                           24   al., Santa Clara Superior Court case number 22CV405055. A copy of said complaint is attached
                                                                           25   hereto as Exhibit “A” to the concurrently-filed Request for Judicial Notice (“RJN”). Said
                                                                           26   complaint listed four defendants: Department of Justice of the State of California; State of
                                                                           27   California; City of Sunnyvale; and Ofc. John Bognanno. Said complaint listed various
                                                                           28   allegations, including: (1) Fourth Amendment unlawful arrest under 42 U.S.C. § 1983; and (2)
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                                                                            1   Monell1 liability under 42 U.S.C. § 1983. The federal allegations are alleged against removing

                                                                            2   defendants City of Sunnyvale and Officer John Bognanno.

                                                                            3                                           REMOVAL IS TIMELY

                                                                            4             2.     Defendants City of Sunnyvale and Officer John Bognanno were served with the

                                                                            5   Summons and Complaint on November 14, 2022, via personal service. To-date, an executed copy

                                                                            6   of the Proofs-of-Service of Summons do not appear on the Santa Clara County Superior Court

                                                                            7   website for Case No. 22CV405055.

                                                                            8             3.     This removal is timely. A defendant’s 30-day period to remove an action to federal

                                                                            9   court runs from the formal date of service of process. Murphy Bros., Inc. v. Michetti Pipe
ALLEN, GLAESSNER, HAZELWOOD & WERTH, LLP




                                                                           10   Stringing, Inc., 526 U.S. 344, 350 (1999) [“one becomes a party officially, and is required to take
                                       180 Montgomery Street, Suite 1200
                                        San Francisco, California 94104




                                                                           11   action in that capacity, only upon service of a summons or other authority-asserting measure

                                                                           12   stating the time within which the party served must appear and defend,” not by mere receipt of

                                                                           13   the complaint unattended by any formal service]. Additionally, pursuant to Federal Rule of Civil

                                                                           14   Procedure Rule 4 (c)(1), service of an action requires a summons be served with a copy of the

                                                                           15   complaint. Here, Plaintiff personally served City of Sunnyvale and Officer John Bognanno on

                                                                           16   November 14, 2022. Thirty days after November 14th is December 14, 2022.

                                                                           17             Defendants removed on Tuesday, December 13, 2022 – within the 30-day window.

                                                                           18                                           GROUNDS FOR REMOVAL

                                                                           19             4.     This action is a civil action of which this Court has original jurisdiction under 28

                                                                           20   U.S.C. §§ 1331 and 1343, and is one which may be removed to this Court by Defendants pursuant

                                                                           21   to the provisions of 28 U.S.C. § 1441, in that Plaintiff asserts causes of action against them

                                                                           22   concerning federal constitutional rights (e.g., Fourth Amendment) Removal is permitted based

                                                                           23   upon federal-question jurisdiction.

                                                                           24                                           VENUE ASSIGNMENT

                                                                           25             5.     Venue in this Division of this Court is proper because the events underlying the

                                                                           26   allegations in the Complaint took place in the County of Santa Clara, California.

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                                                                                    Monell v. Dept. of Social Services, 436 U.S. 658 (1978).
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                                                                            1                         THE SERVED DEFENDANT CONSENTS TO REMOVAL

                                                                            2          6.      The only other two defendants in this case -- Department of Justice of the State of

                                                                            3   California and the State of California -- have been served. Both consent to removal.

                                                                            4                                 PAPERS FROM REMOVED ACTION

                                                                            5          6.      Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders

                                                                            6   served on Defendants -- and not already included above, are attached as Ex. “B” to RJN.

                                                                            7          7.      Pursuant to 28 U.S.C. § 1446 (d), Defendants will serve on Plaintiffs and will file

                                                                            8   with the Clerk of the Superior Court for the County of Santa Clara, a written notice regarding

                                                                            9   removal of this action, attaching a copy of this Notice of Removal and all supporting papers.
ALLEN, GLAESSNER, HAZELWOOD & WERTH, LLP




                                                                           10                                   DEMAND FOR JURY TRIAL
                                       180 Montgomery Street, Suite 1200
                                        San Francisco, California 94104




                                                                           11          Defendant hereby demands a jury trial in this matter.

                                                                           12
                                                                                 Dated: December 13, 2022                  ALLEN, GLAESSNER,
                                                                           13                                              HAZELWOOD & WERTH, LLP
                                                                           14
                                                                                                                           By:_s/ Kevin P. Allen
                                                                           15                                                 KEVIN P. ALLEN
                                                                                                                              Attorneys for Defendants
                                                                           16                                                 CITY OF SUNNYVALE and OFC. JOHN
                                                                                                                              BOGNANNO
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